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H on. Sylvia O.Hinds-Radix                       LAW DEPARTMENT                  Nicholas R Ciappetta
Corporation Counsel                                  100 CHURCH SlREET           Administrative Law andRegulatory Litigation
                                                     NEW YORK, NY 10007          Division
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                                                                          Febma1y 1, 2024



         BY ECF
         Honorable Paul A. Crotty
         United States District Judge
         United States District Comt
         Southern District of New York
         500 Pearl Street
         New Yorlc, New York 10007

                             Re: Mills, etal. v. New York City, New Yorlc, 23-CV-7460 (PAC)(OTW)

         Dear Judge Crotty:

                       I am an attorney in the office of Hon. Sylvia 0. Hinds-Radix, Cmporation
         Counsel of the City of New York. This Office represents Defendant New York City in the
         above-referenced litigation.
                        On December 8, 2023, Defendant filed its motion to dismiss the Complaint
         pmsuant to Federal Rules of Civil Procedme 12(b)(l ) and 12(b)(6). See Docket EnhyNos. 13-
         15. Plaintiffs filed their opposition to the motion to dismiss on Janua1y 22, 2024, following a
         request for additional time that was granted by Y om Honor on Januaiy 4, 2024. See Docket
         Enhy No. 18. Defendant's reply papers are now due Febma1y 5, 2024. See id. Defendant seeks
         additional time to submit a reply to Plaintiffs' opposition.
                        Plaintiffs challenge a slew of impo1tant City laws and mles regulating fireanns in
         the City of New York. As such, this case implicates significant interests for the City of New
         Yode and counsel for Defendant has accordingly devoted substantial time to a consideration of
         the Second Amendment issues raised by the Complaint. Second Amendment jmispmdence
         continues to rapidly develop and undersigned counsel requests an extension of time to be able to
         properly respond to Plaintiffs' counter-ar~uments, • aiticularl~ in li=ht of numerous • ressin=
         deadlines in other assigned cases. AccordinJ_ . Defendant seeks a two-wee • extension of time
         (until Febrnaiy 19, 2024) to sub1nit reply papers. Counsel for Plaintiffs has consented to this
         request.
                             Thank you for yow- consideration of this matter.
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 The requested extension is GRANTED.




                                                 Respectfully submitted,
 February 2, 2024        SO ORDERED
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                                                 Nicholas Ciappetta
                                                 Senior Counsel



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